Case 1-18-46141-ess Doc 33-6 Filed 07/16/19 Entered 07/16/19 11:19:47

UNITED STATES. BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
AFFIDAVIT OF MAILING

KELVIN D PAYTON
CASE #: 1-18-46141-ess

Debtor,
epror CHAPTER 13

 

STATE OF NEW YORK)
~ COUNTY OF MONROE )SS:

I, Kevin Hoenig, being duly sworn, deposes and says:
Deponent is not a party to this action and is over 18 years of age.
THAT on July 16, 2019 deponent served the annexed Notice of Motion For Relief From

Stay on the parties listed in Schedule "A" by depositing a true copy of same enclosed in a
postpaid properly addressed wrapper, in a post office depository under the exclusive care and

custody of the United States Postal Service.
Kevin Hoendg lf

Sworn to before me this
16™ day of July 2019

Cube. Wl Fad

NOTARY PUBLIC

 

ANDREW WHLLIAM DAVIS
Woon PUBLIC, STATE OF NEW YORK
Registration No. CIDASSS5016

Quatified in Monros County
Commission Expires December 24, 2022

 

 

 

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SCHEDULE “A”

Norma E. Ortiz

Ortiz & Ortiz LLP’ -
32-72 Steinway Stréet
Suite 402 ve
Astoria, NY 11103:-

Kelvin D Payton .
114-16 173rd St
Jamaica, NY 11434.

Franshara Hunter, . -
114-16 173 Street,
Saint Albans, NY 11434

Marianne DeRosa ——

Office of the Chapter 13 Trustee
100 Jericho Quadrangle

Suite 127 uO

Jericho, NY 11753 -

Office of the United States Trustee
Eastern District of NY (Brooklyn Office)
U.S. Federal Office Building

201 Varick Street, Suite 1006

New York, NY 10014 -

Deborah Kall Schaal

Gordon and Schaal, LLP

Attorneys for Santander Consumer USA Inc.
1039 Monroe Avente .

Rochester, NY 14620

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